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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS

IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                 Case No. 1:16-cv-08637
This Document Relates To:

      All Commercial and Institutional
      Indirect Purchaser Actions



MEMORANDUM OF LAW IN SUPPORT OF COMMERCIAL AND INSTITUTIONAL
 INDIRECT PURCHASER PLAINTIFFS’ MOTION FOR APPROVAL OF CLASS
           NOTICE PLAN FOR FIRST ROUND SETTLEMENTS
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I.     INTRODUCTION AND BACKGROUND

       The Commercial and Institutional Indirect Purchaser Plaintiffs (“CIIPPs”) earlier moved

successfully for preliminary approval of settlements and certification of settlement classes with

respect to settlements they entered into with the Fieldale, Amick, Peco, George’s, Tyson,

Pilgrim’s Pride, and Mar-Jac Defendants. 1 These settlements have generated a cumulative

settlement amount of $104,890,000.00. 2 In the view of CIIPPs’ counsel, the case has now arrived

at a juncture where notice to the settlement classes and distribution of settlement funds to class

members with qualified purchases is warranted.

       CIIPPs recovered the foregoing cumulative amount for the benefit of settlement classes

consisting of businesses and entities that indirectly purchased Broilers for use in commercial

food preparation. CIIPPs respectfully submit that the class notice plan amply satisfies applicable

legal standards and provides for the best notice practicable under the circumstances, thereby

satisfying Federal Rule of Civil Procedure 23 and Due Process. The Plan calls for direct notice to

over one million members of the settlement classes, as well as supplemental notice designed to

reach a maximum number of additional potential settlement class members, all designed and

implemented by an eminently qualified notice and claims administrator, A.B. Data. Accordingly,

CIIPPs respectfully submit that the Court should approve dissemination of class notice and

establish a schedule for a final approval hearing on the settlements.




1
 Order, ECF No. 1910 (Fieldale); Order, ECF No. 3696 (Amick); Order, ECF No. 4113 (Peco
and George’s); Order, ECF No. 5127 (Tyson, Pilgrim’s, and Mar-Jac).
2
  The proposed Notices inform the Settlement Classes that there is $103,890,000.00 available for
distribution. This is because the Pilgrim’s Pride settlement provides an additional $1 million in
funds available only for notice and claims administration.

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II.      LEGAL STANDARD

         Under generally recognized standards, class notice must afford potential class members

the ability to “make an informed decision about their participation [in the litigation].” MANUAL

FOR    COMPLEX LITIGATION, FOURTH, § 21.311, at 289. For class action cases where the class is

certified under Rule 23(b)(3) or for settlement purposes, the Court must direct notice to class

members that is the “best notice that is practicable under the circumstances, including individual

notice to all members who can be identified through reasonable effort.” Fed. R. Civ. P.

23(c)(2)(B). “The notice must clearly and concisely state in plain, easily understood language: (i)

the nature of the action; (ii) the definition of the class certified; (iii) the class claims, issues, or

defenses; (iv) that a class member may enter an appearance through an attorney; (v) that the

court will exclude from the class any member who requests exclusion; (vi) the time and manner

for requesting exclusion; and (vii) the binding effect of a class judgment on class members.” Id.

The Seventh Circuit has held that settlement class notice generally requires individual notice

where possible, and “alternative means such as notice through third parties, paid advertising,

and/or posting in places frequented by class members” where individual notice is not possible.

Mullins v. Direct Digital, 795 F.3d 654, 665 (7th Cir. 2015). This standard does not require that

every conceivable class member receive actual notice. Eisen v. Carlisle & Jacquelin, 417 U.S.

156, 176 (1974).

III.     SUMMARY OF THE PROPOSED CLASS NOTICE PROGRAM

         The CIIPP settlement classes are vast, encompassing over one million commercial food

preparation businesses and entities located throughout the United States. Through a sustained

effort to identify class members, conducted primarily via analysis of voluminous materials




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obtained in non-party discovery, the CIIPPs have assembled lists of settlement class members

that will receive notice under the proposed Plan. 3

       CIIPPs have also engaged A.B. Data, an experienced and well-regarded notice and claims

administrator, to serve as settlement administrator for these settlements. See Schachter Decl. ¶¶

2-4, Exhibit A (listing many prior engagements on complex settlement administration projects).

       Primary Direct Notice

       Proposed forms of the materials CIIPPs intend on sending to the settlement classes are

included herewith as exhibits attached to the Schacter Declaration, and include the Long-Form

Notice at Exhibit C, the Claim Form at Exhibit D, and the Short-Form Notice at Exhibit E. The

Schachter Declaration also includes a document describing in detail CIIPPs’ proposed Plan of

Allocation, which will be posted on CIIPPs’ dedicated settlement website. The foregoing

materials provide information about, among other things, (a) the amount of the settlements; (b)

who is entitled to share in the recovery; (c) how to submit a claim form; (d) the Plan of

Allocation for distributing the settlement proceeds; (e) the process by which settlement class

members may opt-out or object to the settlements; and (f) that, if the Court grants final approval,

the case will be dismissed as against the Settling Defendants. Under CIIPPs’ plan, the settlement

administrator will send the following items to class members:

           •   the Long-Form Notice and a Claim Form with prepopulated purchase amounts to
               approximately 650,000 settlement class members located in Illinois Brick repealer
               jurisdictions 4 and for whom CIIPPs’ sales databases contained qualifying
               purchases;



3
  CIIPPs subpoenaed and obtained large amounts of purchase and sales data from non-party
distributors as part of discovery in this action. The distributors’ sales data identifies CIIPP class
members.
4
  Illinois Brick repealer jurisdictions are those jurisdictions that permit recovery of indirect
purchaser damages under local antitrust law. The relevant states are listed in the notices.

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           •   the Long-Form Notice and a blank Claim Form to other settlement class members
               located in Illinois Brick repealer jurisdictions and for whom CIIPPs’ sales
               databases did not reflect verifiable purchases; and

           •   the Short-Form Notice to settlement class members located in non-repealer
               jurisdictions.

       Both the Long-Form Notice and Short-Form Notice provide information and

transparency regarding the proposed settlements and contain all information required by the

Rules and case law. The Short-Form Notice also provides the URL for the website where class

members may review the Long-Form Notice and more fulsome information about the lawsuit

and the proposed settlements. In addition to a physical mailing, the foregoing Long-Form and/or

Short-Form notices will also be emailed directly to settlement class members where the non-

party distributor data provides an email address. See Schachter Decl. ¶¶ 9-11.

       Supplemental Publication Notice

       In addition to the robust direct notice program outlined above, CIIPPs will supplement

the Plan with other forms of notice reasonably tailored to reach a maximum number of additional

potential class members as efficiently as possible. These measures include:

       Paid Media. A.B. Data has devised a well-tailored paid media program that will include

print advertising in food industry publications, banner ads on food industry websites, targeted

banner ads on Google Display Network and YouTube. Schachter Decl. ¶¶ 12-14. The subscriber

base for the food industry publications and websites encompasses many individuals responsible

for procurement at many businesses and entities engaged in commercial food preparation that

fall within the settlement class definitions. A proposed sample banner ad is included with the

Notice Plan and attached as Exhibit B to the Schachter Declaration, and A.B. Data will conduct a

targeted online display ad program to generate a minimum of 20 million impressions over 30

days. Schachter Decl. ¶¶ 12-14.


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       Earned Media. An earned media program will leverage the newsworthiness of the

settlements themselves to expand notice. A.B. Data will disseminate a news release via the

distribution service PR Newswire, which will reach more than 10,000 newsrooms across print,

broadcast, and digital media throughout the United States. Schachter Decl. ¶ 15. A.B. Data will

also send the news release to food industry trade publications. Id.

       Website and Telephone Support

       A.B. Data will further assist potential claimants in understanding their rights under the

settlements by establishing a case-specific toll-free number and website. Id. ¶¶ 16-18. The toll-

free number will provide prerecorded information about the settlements and an option to speak

with a live operator during business hours. Id. The website will present relevant information and

documentation, including a case summary, copies of the settlement agreements and related

Orders, other important documents, and a schedule showing important dates, as well as the

functionality for online claim form submission. Id.

IV.    PLAN OF ALLOCATION

       Discovery to date has yielded a wealth of transaction-level data that CIIPPs’ expert

economists have analyzed extensively to determine the relative magnitude of the alleged

overcharges imposed on the various Broilers product types. This analysis supports the view, for

example, that overcharge amounts were greater in the time period lasting from December 1, 2011

through July 31, 2019, than in an earlier period lasting from January 1, 2008 through November

30, 2011. It further supports the view that overcharges were greater on purchases of wing

products than on purchases of breast products, for example. CIIPPs’ Plan of Allocation, as

outlined in the notice papers, reflect the foregoing analyses.




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       Based on expert analysis, CIIPPs propose to employ the following chart in scoring the

CIIPPs settlement class members’ Broilers purchasers during the relevant period:

         Product Category               Time Period of                Time Period of
                                      Purchase: January 1,         Purchase: December 1,
                                     2008 through November          2011 through July 31,
                                            30, 2011                        2019

     Breast Products                             1                           3.5
     Whole Bird Products                        1.3                          2.6
     Wing Products                              3.5                          6.1
     Other Products                              1                            1


       Under CIIPPs’ proposed Plan, A.B. Data will make use of the foregoing to weigh

Broilers purchases in allocating settlement proceeds to pay class members’ claims. For each

purchase, A.B. Data will assign the CIIPPs class member a point score by multiplying the dollars

of purchases of each product type for a given time period by the multiplier for that product type

and time period. For example, a given class member will be assigned 1.3 points for each dollar of

whole bird products purchased in February 2009 and 6.1 points for each dollar of wing products

purchased in September 2014. The class member’s total points divided by the total points held by

all class members will determine that class member’s share of total funds to be distributed and

the class member will receive a pro rata distribution on this basis.

V.     PROPOSED SCHEDULE FOR FINAL APPROVAL

       CIIPPs propose the following schedule for the dissemination of class notice and related

dates for final approval, which complies with all of the time intervals required under applicable

rules and procedures including Rule 23 and the Class Action Fairness Act (CAFA). The

proposed schedule moreover has the virtue of mirroring similar notice schedules submitted by

other Class Plaintiffs in this case and approved by this Court:




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Event                                                  Date
Notice campaign begins through direct notice           30 days from order directing notice
via mail and email and implementation of
publication notice campaign
Last day for CIIPPs’ counsel to move for               76 days from order directing notice
attorneys’ fees, expenses, and service awards
for class representatives
Last day for settlement class members to               90 days from order directing notice
request exclusion from the settlement classes,
object to the settlements, and file notices to
appear at the final approval hearing
CIIPPs’ counsel to provide settling Defendants         97 days from order directing notice
with a list of all persons and entities who have
timely filed requests for exclusion from any of
the settlement classes
Deadline for filing motion for final approval          14 days before the Final Approval Hearing
and supporting documents, and responses to
any objections to settlements or attorneys’ fees
Final approval hearing and hearing on requests         130 days from order directing notice, or as
for attorneys’ fees and expenses                       soon thereafter as may be heard by the Court
Distribution to the settlement classes                 TBD after order granting final approval and
                                                       resolution of any objections and appeals


As the foregoing demonstrates, CIIPPs’ final approval schedule is keyed off of the date the Court

issues its order directing notice to the class. If and when that order is entered, CIIPPs will submit

dates certain to the Court based on the foregoing schedule.

VI.     DISCUSSION

        The robust Class Notice Plan covering both direct and publication notice is a case-

specific, state-of-the-art Notice Plan devised by a settlement administrator with substantial

experience in administering settlements in major class action litigation. The Plan makes full use

of the extensive reserves of data collected from Defendants and in non-party discovery through

years of painstaking litigation effort, oftentimes in the face of strong opposition, and at immense

cost. Every settlement class member identifiable in the database CIIPPs have assembled will

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receive direct notice electronically and/or in its physical mailbox. This undertaking satisfies the

Mullins standard of providing for direct notice, where possible.

       The Notice Plan also provides for additional significant and efficient measures for

reaching other potential settlement class members that were not reached via direct notice, by

making use of industry publications in wide use among the settlement class members. Indeed, the

overlapping layers of notice are targeted to maximize the likelihood that any settlement class

member will receive notice at a time and in a manner that will allow them to participate fully in

the settlements.

       Moreover, the proposed plan of allocation is an evidence-based plan that CIIPPs

recommend after considerable deliberation and consultation with their retained economic experts

and A.B. Data. It contemplates a pro rata payout reflecting the differing levels of alleged

overcharge that applied to certain product types and calibrates the share each class member will

receive in the settlement on an objective basis, according to the volumes of purchases for each

affected type and the corresponding damages incurred. There is no preferential treatment for any

class representative or for any class member or segment of the settlement classes. Such an

allocation method has repeatedly been approved by courts across the country. As many courts

have held, a proposed plan of allocation “need only have a reasonable, rational basis, particularly

if recommended by ‘experienced and competent’ class counsel.” In re Am. Bank Note

Holographics, 127 F. Supp. 2d 418, 429-30 (S.D.N.Y. 2001). The standard for an allocation

methodology is the same as for the settlements overall: the plan must be fair, reasonable, and

adequate. In re Computron Software, Inc. Sec. Litig., 6 F. Supp. 2d 313, 321 (D. N.J. 1998). And

“[a] plan of allocation that reimburses class members based on the type and extent of their




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injuries is generally reasonable.” In re Citric Acid Antitrust Litig., 145 F. Supp. 2d 1152, 1154

(N.D. Cal. 2001).

       In all, CIIPPs respectfully submit that the proposed Class Notice Plan constitutes the

“best notice that is practicable under the circumstances.” Additionally, CIIPPs stand ready to

offer any supplemental information that the Court would find helpful in deciding this motion.

VII.   CONCLUSION

       Now that seven substantial settlements have been preliminarily approved, CIIPPs believe

that the moment has come to disseminate notice to the class and commence with distributing

settlement funds. CIIPPs respectfully request that the Court grant the motion and authorize

adoption of the proposed Class Notice Plan.



Dated: November 24, 2021                      Respectfully Submitted:


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